                        UNITED STATES DISTRICT COURT FOR
                        THE EASTERN DISTRICT OF WISCONSIN
                              (MILWAUKEE DIVISION)

NANCY A. STENCIL, DANIEL C.               )
RUSSLER, LISA C. MUELLER,                 )
CHERYL L. MARANTO, GERARD D.              )
LISI, JAMES B. KURTZ, MARGARET L.         )
DEMUTH, PAUL DEMAIN, JAMES R.             )
BOTTSFORD and RICHARD BECHEN,             )     Case No.: 22-cv-305-LA
                                          )
            Plaintiffs,                   )
                                          )
v.                                        )
                                          )
RONALD H. JOHNSON, THOMAS P.              )
TIFFANY, and SCOTT L.                     )
FITZGERALD,                               )
                                          )
            Defendants.                   )
____________________________________________________________________________

          DEFENDANT RONALD H. JOHNSON’S MOTION TO DISMISS
____________________________________________________________________________

       Defendant Ronald H. Johnson moves to dismiss Plaintiffs’ complaint under Federal Rule

Civil Procedure 12(b)(1) and (b)(6), and as supported by the attached memorandum. First, this

Court lacks jurisdiction over Plaintiffs’ declaratory-judgment action because they lack standing

and because the U.S. Constitution grants Congress sole authority to decide challenges to

Members’ qualifications. Second, even if the Court has jurisdiction (it does not), Plaintiffs fail to

state a claim upon which relief can be granted. Congress has removed the disabilities imposed by

the Section 3 of the Fourteenth Amendment (Disqualification Clause), and Plaintiffs identify no

protected personal “rights” to vindicate under the Declaratory Judgment Act. Senator Johnson

respectfully requests that the Court dismiss Plaintiffs’ complaint with prejudice.




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Dated April 29, 2022



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                         Counsel for Senator Ronald H. Johnson




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                                  CERTIFICATE OF SERVICE
       I certify that on April 29, 2022, I filed Defendant’s Ronald H. Johnson’s Motion to

Dismiss via the CM/ECF system for the U.S. District Court for the District of Columbia, which

will cause a copy to be served on all registered parties.


                                                  s/ Christopher O. Murray
                                                  Christopher O. Murray




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